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                          UNITED STATES DISTRICT CO URT
                          SO UTHERN DISTRICT O F FLORIDA

                           Case No.15-24363-CIV-W ILLlAM S


   MARJAM SUPPLY COM PA NY O F FLO RIDA,
   LLC,and MARJAM SUPPLY COM PANY,

         Plainti
               #s/counter-Defendants

  VS.

  PLITEQ ,INC.and PAUL DOW NEY,

         Defendants/counter-plainti#s

                                          /

                                   O M NIBUS ORDER

         THIS MATTER is before the Coud following a status conference held on February

  23,2018,and calendarcallon April10,2018. Pursuantto the discussions held on the

   record,itis O RDERED AND ADJUDG ED as follows:

               Defendants, Pliteq and Paul Downey's renewed m otion for sum mary

  judgment(DE 162)is GRANTED IN PART.The Courtgrants summaryjudgmentasto
  aIIclaim s againstDefendantPaulDowney.

         (2)   Pliteq's motiontoexcludethetestimonyofMr.BennetBrooks isGRANTED
   IN PART AND DENIED IN PART. M r.Brooks'testim ony in rebuttalwillbe lim ited to the

   issues pedaining tothe Met3 project.
         (3)   Pliteq's sealed motions for sanctions (DE 156.
                                                            , DE 225) are DENIED
  W ITHO UT PREJUDICE. Plaintiffs m ay raise the issues during trial,atwhich pointthe

   Coudwilldecide whetherajury instruction is appropriate.
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         (4)    Pliteq's motion in Iimine (DE 197.
                                                 ,DE 249,supplement)is GRANTED IN
  PART AND DENIED IN PART. Pliteq's separate Iitigation with ECO RE may be

  referenced by Marjam ,butthe contents ofthe settlementagreementand the details of
  thatIitigation are excluded from trial. The Coud reserves its ruling as to the rem aining

  issues raised in Pli
                     teq's m otion in Iim ine.

         (5)    Marjam's motion in Iimine (DE 199)isDENIED.
  DO NE AND ORDERED in cham bers in M iami,Florida,thi            day ofApril,2018.




                                                 KATHLE   M .W ILLIAMS
                                                 UNITED TATES DISTRICT JUDGE
